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 4
 5   Attorney for VIDAL GONZALEZ
 6
                                    UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                           Case No.: 16-067 JAM

11                     Plaintiff,                        REQUEST FOR STAY OF TURN IN
12                                                       DATE
                vs.
13                                                       DATE: June 19, 2019
14   VIDAL GONZALEZ,                                     TIME: --
                                                         JUDGE: Hon. John A. Mendez
15                     Defendants.
16
17
18              On April 9, 2019, Vidal Gonazlez appeared before the Court for imposition of

19   judgment and sentence. At that time, the court ordered Mr. Gonzalez to turn himself in

20   on June 20, 2019, at a location to be designated by the US Marshals.
                Mr. Gonzalez now respectfully requests, without objection from the government, a
21
     one-time extension of his turn-in date to January 4, 2020, in light of ongoing medical
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     treatment he is receiving. Attached for the Court’s review as Exhibit 1 are the results of
23
     the MRI of the Lumbar Spine performed at Elk Grove Diagnostic Imaging on May 1,
24
     2019.
25
                In addition to the long-term effects he suffers from scoliosis and osteoarthritis, Mr.
26
     Gonzalez is seeking more immediate treatment for the bulging disc at L3-L4 noted in the
27
     results. Furthermore, he continues his course of treatment for the glaucoma that was
28
     documented for the court at the time of sentencing.



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 1              For the above reasons, Mr. Gonzalez respectfully requests a one-time extension to
 2   January 4, 2020 to turn himself in as directed by the US Marshals.
 3
 4   DATED:           June 19, 2019               /S/   Cameron Desmond
                                                  McGREGOR SCOTT
 5                                                by CAMERON DESMOND
 6                                                Attorney for Plaintiff
 7
 8                                                /S/   Clemente M. Jiménez
                                                  CLEMENTE M. JIMÉNEZ
 9                                                Attorney for VIDAL GONZALEZ
10
11
12                                               ORDER
13   IT IS SO ORDERED, that Vidal Gonzalez turn himself in on January 4, 2020, as directed
14   by the US Marshals Service. The previous order that he turn himself in on June 20, 2019
15   is vacated.
16
17   This 19th day of June, 2019

18                                                      /s/ John A. Mendez____________
19                                                      HON. John A. Mendez
                                                        United States District Court Judge
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     06/19/19
